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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

         - against -                                          Case No. 1:23-cr-00327-JS-1

SAMUEL MIELE,

                       Defendant.

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                                      NOTICE OF WITHDRAWAL

                 PLEASE TAKE NOTICE that Trial Attorney Jacob R. Steiner from this point

forward will be withdrawn as counsel in the above-captioned matter.

Dated:     Washington, DC
           January 31, 2025
                                                  Respectfully submitted,

                                                  JOHN D. KELLER
                                                  Acting Chief, Public Integrity Section
                                                  U.S. Department of Justice



                                            By:    /s/ Jacob R. Steiner
                                                  Jacob R. Steiner
                                                  Trial Attorney

cc:      Clerk of the Court (OEM)
         Counsel of Record
